
378 U.S. 587 (1964)
FOX ET AL.
v.
NORTH CAROLINA.
No. 5.
Supreme Court of United States.
Decided June 22, 1964.
ON PETITION FOR WRIT OF CERTIORARI TO THE SUPREME COURT OF NORTH CAROLINA.
Jack Greenberg, James M. Nabrit III, Samuel S. Mitchell, George E. Brown, William T. Coleman, Jr., Louis H. Pollak, Charles A. Reich and Spottswood W. Robinson III for petitioners.
T. W. Bruton, Attorney General of North Carolina, and Ralph Moody, Assistant Attorney General, for respondent.
PER CURIAM.
The petition for writ of certiorari is granted, the judgment vacated and the case remanded to the Supreme Court of North Carolina for consideration in light of Robinson v. Florida, ante, p. 153.
MR. JUSTICE DOUGLAS would reverse outright on the basis of the views expressed in his opinion in Bell v. Maryland, ante, p. 242.
MR. JUSTICE BLACK, MR. JUSTICE HARLAN and MR. JUSTICE WHITE dissent.
